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Joshua Trigsted
Oregon State Bar ID Number 06531
Trigsted Law Group, P.C.
5200 SW Meadows Rd, Ste 150
Lake Oswego, OR 97035
888-595-9111, ext. # 216
866-927-5826 facsimile
jtrigsted@attorneysforconsumers.com
Attorney for Plaintiff


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                    EUGENE DIVISION

                                                Case No.: 6:17-cv-414
DIANE POWERS,
                                                COMPLAINT;
               Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
       vs.                                      ACT (15 U.S.C. § 1692a, et seq.);

ALLTRAN FINANCIAL, LP,                          DEMAND FOR JURY TRIAL

               Defendant.
                                  I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”).

                                  II. JURISDICTION

       2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                      III. PARTIES

       3.      Plaintiff, Diane Powers (“Plaintiff”), is a natural person residing in


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Deschutes County, Oregon.

       4.      Defendant, Alltran Financial, LP (“Defendant”), is a corporation engaged in

the business of collecting debts by use of the mails and telephone. Defendant regularly

attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection with

the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to collect

a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including

the following.

       9.      Falsely representing the amount, character, or legal status of any debt,

including falsely representing that US Bank was still the creditor on the debt and that US

Bank had “pulled back” the account, where US Bank had sold the debt prior to such

representations to a debt buyer; Defendant also misrepresented the balance of the debt by

failing to state whether interest was or was not accruing on the balance (§ 1692e(2)(A)).

       10.     As a result of the aforementioned violations, Plaintiff suffered and continues

to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.


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       11.     Defendant intended to cause, by means of the actions detailed above, injuries

to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe

emotional distress.

       12.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       13.     To the extent Defendant’s actions, detailed above, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       15.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       D.      Costs, disbursements and reasonable attorney’s fees for all successful claims,

and any unsuccessful claims arising out of the same transaction or occurrence as the

successful claims, pursuant to 15 U.S.C. § 1692k; and,


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E.      For such other and further relief as may be just and proper.

         PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                         Dated this 13th day of March, 2017.


                                             By:_s/Joshua Trigsted_______
                                             Joshua Trigsted
                                             Trigsted Law Group, P.C.
                                             5200 SW Meadows Rd, Ste 150
                                             Lake Oswego, OR 97035
                                             503-376-6774, ext. # 216
                                             866-927-5826 facsimile
                                             Attorney for Plaintiff




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